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     AO 106A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                           UNITED STATES DISTRICT COURT
                                                                        for the
              In the Matter of the Search of                   DistrictDistrict
                                                          __________    of Columbia
                                                                                of __________
          (Briefly describe the property to be searched
           or identify the person by name and address)
                                                                                       )
    APPROXIMATELY 8,000 PIECES OF U.S. MAIL STORED AT                                  )
      THE UNITED STATES POSTAL INSPECTION SERVICE                                      )         Case No. 21-sw-234
      FACILITY AT 450 5th STREET NW, WASHINGTON DC,                                    )
                       UNDER RULE 41
                                                                                       )
                                                                                       )

         APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
             I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
     penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
     property to be searched and give its location):
      See Attachment A hereby incorporated as reference

     located in the                                    District of                 Columbia                  , there is now concealed (identify the
     person or describe the property to be seized):
      See Attachment B hereby incorporated as reference


               The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                    ✔ evidence of a crime;
                    u
                    u contraband, fruits of crime, or other items illegally possessed;
                      u property designed for use, intended for use, or used in committing a crime;
                      u a person to be arrested or a person who is unlawfully restrained.
               The search is related to a violation of:
                  Code Section                                                               Offense Description
18 U.S.C. §§ 1341 and 1342                             mail fraud, fictitious name or address
18 U.S.C. § 1343, 1349                                 conspiracy to commit mail fraud

               The application is based on these facts:
             SEE AFFIDAVIT


                u Continued on the attached sheet.
                u Delayed notice of        days (give exact ending date if more than 30 days:                                     ) is   requested under
                  18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                            Applicant’s signature

                                                                                                   Nichole Rodriguez, Postal Inspector
                                                                                                            Printed name and title

     Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                         TELEPHONE                         (specify reliable electronic means).


     Date:            07/22/2021
                                                                                                              Judge’s signature

     City and state: Washington, D.C.                                                            G. Michael Harvey, U.S. Magistrate Judge
                                                                                                            Printed name and title
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 AO 93C () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV               u Original                u Duplicate Original


                                            UNITED STATES DISTRICT COURT
                                                                          for the
                                                                 District
                                                           __________     of Columbia
                                                                      District of __________
               In the Matter of the Search of
           (Briefly describe the property to be searched                     )
            or identify the person by name and address)                      )
APPROXIMATELY 8,000 PIECES OF U.S. MAIL STORED AT                            )      Case No. 21-sw-234
  THE UNITED STATES POSTAL INSPECTION SERVICE                                )
  FACILITY AT 450 5th STREET NW, WASHINGTON DC,
                                                                             )
                   UNDER RULE 41
                                                                             )

                  :$55$17%<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
 To:       Any authorized law enforcement officer
           An application by a federal law enforcement officer or an attorney for the government requests the searchDQGVHL]XUH
of the following person or property located in the                                  District of            Columbia
(identify the person or describe the property to be searched and give its location):
   See Attachment A hereby incorporated as reference




         I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
 described above, and that such search will reveal (identify the person or describe the property to be seized):
   See Attachment B hereby incorporated as reference




         YOU ARE COMMANDED to execute this warrant on or before                  August 5, 2021         (not to exceed 14 days)
       u in the daytime 6:00 a.m. to 10:00 p.m. ✔
                                                u at any time in the day or night because good cause has been established.

         Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
 person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
 property was taken.
         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
 as required by law and promptly return this warrant and inventory to            G. Michael Harvey, U.S. Magistrate Judge         .
                                                                                                   (United States Magistrate Judge)

      u Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
 § 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
 property, will be searched or seized (check the appropriate box)
      u for         days (not to exceed 30) u until, the facts justifying, the later specific date of                                   .


 Date and time issued:          07/22/2021
                                                                                                           Judge’s signature

 City and state: Washington, D.C.                                                         G. Michael Harvey, U.S. Magistrate Judge
                                                                                                         Printed name and title
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AO 93& () :DUUDQWE\7HOHSKRQHRU2WKHU5HOLDEOH(OHFWURQLF0HDQV(Page 2)

                                                                             Return
Case No.:                                Date and time warrant executed:                 Copy of warrant and inventory left with:
 21-sw-234
Inventory made in the presence of :

Inventory of the property taken and name V of any person(s) seized:




                                                                         Certification


        I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer’s signature


                                                                                                   Printed name and title
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                                   ATTACHMENT A

                                Property to Be Searched

The SUBJECT PARCELS are approximately 8,000 pieces of United States Mail that are
currently located at USPIS, 450 5th Street NW, Washington, DC 20004. All of the SUBJECT
PARCELS are addressed to or have the return address of one of the following:

 a        PO Box 610704       Bayside      NY    11360
 b        PO Box 639          Bethpage     NY    11714
                              Carle
 c        PO Box 156          Place        NY    11514
                              Carle
 d        PO Box 354          Place        NY    11514
 e        PO Box 12128        Hauppauge    NY    11788
                              Huntington
 f        PO Box 8035         Station      NY    11746
 g        PO Box 1537         Mineola      NY    11501
                              Old
 h        PO Box 211          Bethpage     NY    11804
                              Old
 i        PO Box 559          Bethpage     NY    11804
                              Old
 j        PO Box 9218         Bethpage     NY    11804
 k        PO Box 27           Plainview    NY    11803
 l        PO Box 401          Roslyn       NY    11576
                              Roslyn
 m        PO Box 1335         Heights      NY    11577
                              Roslyn
 n        PO Box 1367         Heights      NY    11577
 o        PO Box 1428         Smithtown    NY    11787
 p        PO Box 535          Westbury     NY    11590
 q        PO Box 781          Westbury     NY    11590
 r        PO Box 570420       Whitestone   NY    11357
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                                        ATTACHMENT B

                                  Particular Things to be Seized

       Items evidencing violations of Title 18, U.S.C. Sections 1341 (mail fraud), 1342

(fictitious name or address), and 1349 (conspiracy to commit mail fraud), including but not

limited to the following:

   1. Whole or partial sweepstakes, lottery, or other prize award solicitations requesting

       payment of a fee;

   2. Notes, correspondence, and other records in whatever form;

   3. Payment instruments or payment information, including cash, checks, money orders, and

       credit card information;

   4. Communications and records that may establish ownership and control (or the degree

       thereof) of post office boxes.
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 IN THE MATTER OF THE SEARCH                  *
 OF APPROXIMATELY 8,000                       *       SW No. 21-sw-234
 PIECES OF U.S. MAIL STORED AT                *
 THE UNITED STATES POSTAL                     *
 INSPECTION SERVICE FACILITY                  *
 AT 450 5th STREET NW,                        *
 WASHINGTON DC, UNDER RULE                    *
 41                                           *



                  AGENT AFFIDAVIT IN SUPPORT OF APPLICATION
                 FOR A SEARCH WARRANT FOR U.S. MAIL PARCELS

       Your Affiant, Nichole Rodriguez, United States Postal Inspector, being duly sworn,

hereby deposes and states as follows:

                                        INTRODUCTION

       1.      I have been a Postal Inspector with the United States Postal Inspection Service

(“USPIS”) for approximately nine years. I am currently assigned to the USPIS Department of

Justice Mail Fraud Team in Washington, D.C. I have participated in and conducted numerous

investigations involving violations of 18 U.S.C. § 1341 (mail fraud), 18 U.S.C. § 1342 (fraud

using fictitious names), 18 U.S.C. § 1343 (wire fraud), 18 U.S.C. § 1349 (conspiracy to commit

mail and wire fraud), and related statutes.

       2.      As a Postal Inspector, I have received training, and have experience, regarding the

use of the U.S. mail and Post Office (“P.O.”) boxes in connection with fraud offenses. I have

conducted numerous fraud investigations and participated in numerous search warrant executions


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involving use of the mail. Based on my training and experience, I am familiar with the types of

documents typically delivered to P.O. boxes to manage and operate a mail fraud scheme.

       3.      The facts contained in this affidavit are based on my personal knowledge,

knowledge obtained during my participation in this investigation, information from other

individuals including other law enforcement officers, complainants, and other parties, witness

interviews, and my review of documents, public records, USPIS records, and other sources.

Because this affidavit is submitted for the limited purpose of establishing probable cause in

support of the application for a search warrant, it does not set forth each and every fact that I

have learned during the course of this investigation.

       4.      This is an Affidavit submitted in support of an Application for a Search Warrant

to open and search approximately 8,000 pieces of unopened U.S. mail, hereinafter “SUBJECT

PARCELS.” The SUBJECT PARCELS are currently in USPIS custody in Washington, D.C.

The SUBJECT PARCELS were seized by the USPIS pursuant to a Temporary Restraining

Order And Order to Show Cause (“TRO”) signed by the Honorable Judge Sandra J. Feuerstein

on or about September 22, 2016 in Eastern District of New York (“EDNY”) case no 16-cv-5263.

That case was filed under the Anti-Fraud Injunction Statute, 18 U.S.C. § 1345, to stop an

ongoing mass-mail fraud scheme. Two of the defendants in that case are SEAN NOVIS

(“NOVIS”) and GARY DENKBERG (“DENKBERG’). Judge Feuerstein considered the United

States’s ex parte application for the TRO, and found that (1) there was probable cause to believe

that the defendants were violating and about to violate 18 U.S.C. § 1341, and (2) the statutory

conditions for granting a temporary restraining order under 18 U.S.C. § 1345 had been met. On

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or about February 23, 2017, a stipulated Preliminary Injunction was filed, which was then

granted on April 19, 2017 by Judge Feuerstein and remains in place.

       5.       Under the EDNY TRO discussed above, the U.S. Postal Service was authorized to

detain all of NOVIS and DENKBERG’s mail sent in furtherance of the fraudulent schemes

described herein. These detained and unopened mail pieces, i.e., the SUBJECT PARCELS, are

the subject of the search warrant application for which this Affidavit provides support.

       6.       In connection with the matters alleged here, NOVIS, DENKBERG and their co-

conspirators caused fraudulent prize notices to be placed into the United States mail, which were

to be delivered to potential victims throughout the United States. NOVIS, DENKBERG and

their co-conspirators also received payments, other correspondence, and returned prize notices

via U.S. mail, in response to their fraudulent prize notices. Mail inbound to NOVIS,

DENKBERG, and their co-conspirators went to a number of P.O. boxes under their control,

including:

 a          P.O. Box 610704                   Bayside                              NY       11360
 b          PO Box 639                        Bethpage                             NY       11714
 c          PO Box 156                        Carle Place                          NY       11514
 d          PO Box 354                        Carle Place                          NY       11514
 e          PO Box 12128                      Hauppauge                            NY       11788
 f          PO Box 8035                       Huntington Station                   NY       11746
 g          PO Box 1537                       Mineola                              NY       11501
 h          PO Box 211                        Old Bethpage                         NY       11804
 i          PO Box 559                        Old Bethpage                         NY       11804
 j          PO Box 9218                       Old Bethpage                         NY       11804
 k          PO Box 27                         Plainview                            NY       11803
 l          PO Box 401                        Roslyn                               NY       11576
 m          PO Box 1335                       Roslyn Heights                       NY       11577

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 n          PO Box 1367                     Roslyn Heights                       NY      11577
 o          PO Box 1428                     Smithtown                            NY      11787
 p          PO Box 535                      Westbury                             NY      11590
 q          PO Box 781                      Westbury                             NY      11590
 r          PO Box 570420                   Whitestone                           NY      11357


                                  Other Government Actions

       7.       In or about April 2012, NOVIS and DENKBERG each signed agreements with the

United States Postal Service pursuant to 39 U.S.C. § 3005, whereby NOVIS and DENKBERG

agreed to permanently stop sending fraudulent prize notices. Despite the agreements and resulting

cease-and-desist orders, NOVIS and DENKBERG continued sending fraudulent prize notices.

       8.       In or about August 2020, a grand jury in EDNY returned an indictment charging

NOVIS and DENKBERG with one count of conspiracy to commit mail fraud in violation of 18

U.S.C. § 1349, six counts of mail fraud in violation of 18 U.S.C. § 1341, and four counts of wire

fraud in violation of 18 U.S.C. § 1343. United States v. Novis and Denkberg, Case No. 2:20-cr-

00335-JMA-2. This case is ongoing.

                                     PROBABLE CAUSE

                                          Background

       9.       From at least 2012 to September 2016, NOVIS, DENKBERG, and their co-

conspirators used the United States mail to engage in a predatory mail fraud scheme, targeting

primarily elderly and vulnerable victims. NOVIS and DENKBERG directed and controlled the

business operations of Horizon Marketing Services Inc., Quantum Marketing Inc., DMCS Inc.,

and Direct Marketing Consulting Services Inc. to further the fraud scheme. From at least 2012

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through September 2016, NOVIS, DENKBERG, and their co-conspirators defrauded tens of

thousands of victims throughout the United States of approximately $30.4 million.

       10.     NOVIS, DENKBERG, and their co-conspirators caused mass mailings of

solicitations to be sent to potential victims through the United States mail designed to induce

those potential victims to send payments to NOVIS, DENKBERG and the co-conspirators. In

the course of this investigation, I have reviewed numerous solicitations mailed to victims from

the business entities controlled by NOVIS, DENKBERG, and their co-conspirators. These

solicitations were written to give the impression they were personalized letters, notifying the

recipient that he or she had already won a large monetary prize, typically worth more than $1

million. The solicitations requested the recipient to return an enclosed form along with a

required fee, generally in the range of $19.99 to $39.99, to receive the prize.

       11.     In reality, the solicitations were not personalized letters, but were mass mailings,

sent to thousands of potential victims throughout the United States. The letters differ only in the

potential victims’ names, addresses, and identifications numbers caused to be assigned by

NOVIS, DENKBERG, and their co-conspirators, inserted into the form letters through mail

merge software.

       12.     Victims who paid the required fee and responded to the award solicitations did

not receive the promised substantial monetary prizes. Some victims received nothing at all, but

the others received a small booklet describing a small number of commercial sweepstakes, which

could be entered without cost by members of the general public.



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       13.     Though NOVIS, DENKBERG, and their co-conspirators sent multiple different

versions of these fraudulent award solicitations, the solicitations featured common phrases,

styles, and misrepresentations to give the impression the recipient had been selected as a winner

of a large prize. The letters prominently featured the amount the recipient purportedly won,

highlighting the prizes with large fonts, punctuation, and underlined and bolded text.

       14.     Evidence seized from NOVIS and DENKBERG’s operation shows that victims

were deceived by the award solicitations. A large quantity of victim complaint letters were

seized during the execution of the search warrant on their offices in September 2016. Many of

them were from elderly victims, often identifiable through their shaky, labored handwriting, who

expressed in their letters their bewilderment and frustration that they had not received the

promised winnings after paying the requested fee.

       15.     An example of the prize-notice mailings sent by NOVIS and DENKBERG is

attached hereto as Exhibit 1. In this mailing, the recipient is told that the sender “is thrilled to

announce that Your Name has been Identified from a list of thousands of sweepstakes

participants to receive this Notification of Available Awards advising that You are entitled to

receive ***$1,200,000.00 in Cash and Awards***.” Immediately after the second set of

asterisks setting off the underlined, purported prize amount is the following text: “Win-

Opportunities as Reported in Digest of Entrant Procedure Directives now pending release to you

fully!” Concerning the first quoted sentence, the investigation reveals that NOVIS and

DENKBERG sent these prize notice mailings to victims solely because their name was on a list



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that NOVIS and DENKBERG acquired from a mailing list broker—it is not true that the

recipients were identified by virtue of having entered a sweepstakes.

       16.     Concerning the second quoted sentence, NOVIS and DENKBERG have used

attorneys to review their prize-notice solicitations. In the criminal case charged in EDNY, in

February 2021 NOVIS and DENKBERG invoked the defense of advice of counsel and,

accordingly, have waived attorney-client privilege. I have reviewed a number of

communications between NOVIS, DENKBERG, and their attorneys—language such as “win-

opportunities” and “digest of entrant procedure directives” is often inserted in the prize-notice

mailings in the course of these communications in order to soften the impression that the

recipient has already won a prize and conceal that what the victim is actually buying is a short

booklet of publicly available sweepstakes information. Despite this added language, many

victims continued to complain to NOVIS and DENKBERG’s companies about the failure to

provide the promised monetary prizes. NOVIS and DENKBERG’s former business partner, J.S.,

recently stated in an interview that the primary motivation for these attorney reviews was to

avoid the fate that befell NOVIS’s father a number of years ago—he was imprisoned for his role

in a similar mass-mailing fraud scheme. J.S. said they operated their business in relatively

constant fear of federal law enforcement, because they would hear from time to time about

federal actions against other mass-mailers. He also stated that he, NOVIS, and DENKBERG

would often argue against changes recommended by the attorneys, because making the mailings

less “aggressive” would substantially reduce their profits. In other words, J.S. stated that the

more truthful their mailings were, the less money they made.

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       17.     The award solicitations were written under the guise of multiple companies,

including “Wynfel Advisory Services,” “Global Reporting Advisors,” “The Reporting Center,”

and “International Data Reporting Center,” and contained what appeared to be hand-written

signatures from a company officer. Some or all of these companies were either shell entities

created by or for NOVIS and DENKBERG or were “DBAs” for an entity owned by NOVIS and

DENKBERG, but they did not have any existence except on paper, e.g., “Wynfel Advisory

Services” had no office and employees other than NOVIS and DENKBERG’s office and

employees, which were the same for all of these entities and DBA filings. This was done—often

at the suggestion of their attorneys—so that there was a state business entity or DBA filing

behind the prize notice’s purported sender. Nevertheless, none of the prize notices disclosed that

the purported business had no actual existence other than on paper; similarly, the purported

company officials whose signatures appeared on the prize notices, e.g., “Artemis Poletski,” the

purported “President” of Wynfel Advisory Services, did not exist. None of the award

solicitations identifies NOVIS, DENKBERG, or any of their co-conspirators as the sender;

similarly, none of the prize-notice mailings discloses the relationship between the purportedly

distinct companies. I have seen no evidence that NOVIS, DENKBERG, or any of their co-

conspirators disclosed to their attorneys that these purported company officers were fictitious

individuals. In addition to these uses of shell entities, DBA filings, and fictitious corporate

officers to conceal their identities, NOVIS and DENKBERG made extensive use of P.O. boxes,

which served to conceal their physical location. In my training and experience, such uses of

shell companies, DBA filings, and P.O. boxes are hallmarks of mass-mailing fraud schemes.

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       18.     When NOVIS and DENKBERG invoked the advice of counsel defense and

waived privilege in February 2021, the prosecution team was for the first time able to review

attorney-client correspondence found during the executions of search warrants. In addition, in

late May 2021 the prosecution team received a digital production from a law firm that NOVIS

and DENKBERG employed in the course of their scheme—this production is believed to be the

equivalent of approximately two standard file boxes of paper. Initial review of these attorney-

client materials remains ongoing, but just the search warrant materials shows there appear to be

thousands of communications over an approximate 15-year period between NOVIS,

DENKBERG, and their counsel. While an exact number is not known, the prosecution team

recently produced a compact disc to at the request of defense counsel and containing

approximately 11,000 individual files, each representing a piece of attorney-client

correspondence seized during search warrant executions. It is believed that these thousands of

communications include duplicates, such as by virtue of a given e-mail appearing on multiple

computers seized during the execution of a search warrant at NOVIS and DENKBERG’s office

location in September 2016.

       19.     Review of these materials to-date reveals that NOVIS and DENKBERG hired

attorneys to review their mailings. Given the length of the conspiracy and the volume of

material that the prosecution team was not able to begin to review until recently, it is not yet

known whether every single mailing was reviewed, but the prosecution team is operating under

this assumption. Several of NOVIS and DENKBERG’s former employees interviewed since

February 2021 have relayed their impressions that because attorneys reviewed the mailings, they

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were “legal.” However, another witness, NOVIS and DENKBERG’s former business partner

J.S., felt that the legal opinions they were getting were worthless. J.S. attended law school in the

1990s and has a law degree; at one time, he was licensed to practice law, although he does not

currently possess a law license. J.S. also said that their prize-notice solicitations were intended

to make it “less clear” that what victims were buying was a small booklet of sweepstakes

information. To this point, J.S. said that a “plain vanilla” advertisement for a booklet of

sweepstakes information would not have produced a sufficient volume of orders for them to

remain profitable. J.S. left the conspiracy in or about 2012 in the wake of an administrative

enforcement action by the U.S. Postal Service and U.S. Postal Inspectors.

       20.     As a general matter, the attorney reviews of mailings worked as follows: the

“creative” pieces—i.e., the draft solicitations, including graphic design elements—were sent to

the attorney. The attorney would make suggestions for changes and send them back to NOVIS

and DENKBERG. Sometimes there was a back-and-forth discussion about the edits. At the

conclusion of the process, the final version would usually incorporate most of the attorneys’

suggested changes, although to varying degrees. Many of the attorney communications to

NOVIS and DENKBERG contain qualifications, to the effect that despite the attorney review,

government entities may find the mailings to be in violation of the law, and that litigation

outcomes were not guaranteed.

       21.     I have not yet seen any evidence to indicate that NOVIS and DENKBERG shared

their “mailing plans” with their attorneys or otherwise sought advice about them. These mailing

plans served as the structure for the scheme. Under the mailing plans, a large mailing—often to

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tens of thousands of potential victims—was used to identify vulnerable consumers who would

make payments after receiving the mailings. This was referred to as a “front end” mailing.

NOVIS and DENKBERG closely tracked responses to the front-end mailing, and, over the

ensuing weeks, sent additional, targeted fraudulent prize notices to those who responded, as often

as every other day for the duration of the “mailing plan.” These follow-on mailings were

referred to as the “back end” mailings. Virtually all of these “back end” mailings were sent by

NOVIS and DENKBERG under color of different purported business names and bearing

different signatures of purported officials, which deceived victims about the origins of the

fraudulent prize notices. The structure of the “mailing plan” enabled NOVIS and DENKBERG

to identify the most vulnerable consumers with the “front end” mailings; many of these victims

were then defrauded repeatedly by the “back end” mailings.

       22.     During the executions of search warrants in September 2016, Postal Inspectors

retrieved a large quantity of victim complaints concerning NOVIS and DENKBERG’s scheme,

including a large quantity of such complaints stored in file folders at NOVIS and DENKBERG’s

office on Long Island, New York. I estimate that the number of complaints is in the thousands. I

have reviewed many of these complaints. Despite the advice of counsel around the factual

representations in the prize-notice solicitations, these complaints often relate the victim’s

puzzlement and frustration with the failure to receive the promised monetary prizes after they

paid the fees requested in the prize-notice solicitation.

       23.     I have examined the outsides of the SUBJECT PARCELS detained under the

authority of the EDNY TRO, described above. Much of it consists of consumer and victim

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responses to the fraudulent prize notices described herein—these are characterized by the

preprinted reply envelopes that were included with the fraudulent prize notices, first-class

postage, handwritten return addresses, and return-address stickers. In addition, amongst the

SUBJECT PARCELS are many return-mail fraudulent prize notices. I recognize the names of

the various purported businesses or the graphic design of the exterior envelope, having reviewed

other fraudulent prize notices that were not in the form of unopened and undelivered U.S. mail. I

have also reviewed the post office box documentation and other records and evidence associated

with NOVIS and DENKBERG’s scheme, and I know that the post office boxes to which this

mail was addressed were used in furtherance of their scheme. These post office boxes are listed

above in paragraph 6.

                  REQUEST TO SUBMIT WARRANT BY TELEPHONE
                    OR OTHER RELIABLE ELECTRONIC MEANS

       24.     I respectfully request, pursuant to Rules 4.1 and 41(d)(3) of the Federal Rules of

Criminal Procedure, permission to communicate information to the Court by telephone in

connection with this Application for a Search Warrant. I submit that Assistant U.S. Attorney

Leslie A. Goemaat, an attorney for the United States, is capable of identifying my voice and

telephone number for the Court.

                                         CONCLUSION

       25.     I submit that based on the above-detailed facts, indicators reflected regarding the

SUBJECT PARCELS described herein, and based upon my training and experience, I believe

there is probable cause that the SUBJECT PARCELS contain evidence or instrumentalities of


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violations of Title 18, U.S.C. Sections 1341 (mail fraud), 1342 (fraud using fictitious name or

address), 1343 (wire fraud), and 1349 (conspiracy to commit mail fraud).

                                                  Respectfully submitted,



                                                  Nichole Rodriguez
                                                  United States Postal Inspector



Subscribed and sworn pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on July 22, 2021.


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HONORABLE G. MICHAEL HARVEY
UNITED STATES MAGISTRATE JUDGE




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